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                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

        Plaintiff,
                                                            Hon. Robert J. Jonker
 v.
                                                            Case No. 1:17-cr-00193
 JACOB WEISMAN,

       Defendant.
 ________________________________/
                          ORDER OF DETENTION


       This matter is before the Court on the government’s motion for pretrial

detention. Defendant has been charged in an Indictment with conspiracy to

launder money, in violation of 18 U.S.C. § 1956 (h) and (a)(1)(A)(i).

       The government sought defendant’s detention on the basis that he poses a

significant risk of flight, 18 U.S.C. § 3142(f)(2)(A). The Court conducted a hearing

today, at which defendant was represented by counsel.

       Having considered the information presented at the hearing, the parties’ oral

submissions, and the information in the Pretrial Services Report, and for the

reasons stated on the record, the Court finds that the government has sustained its

burden of proving by preponderant evidence, that defendant poses a significant risk

of flight.

       The Court also finds that there is no condition or combination of conditions of

release that will ensure the appearance of the defendant. Accordingly,
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      IT IS ORDERED that defendant is committed to the custody of the Attorney

General pending further order of this Court.

      DONE AND ORDERED on November 9, 2017.



                                                /s/ Phillip J. Green
                                               PHILLIP J. GREEN
                                               United States Magistrate Judge




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